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      UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO

     IN RE:                                                              CASE NO: 15-17348 MER

     DAVID W. HASKIN                                                     CHAPTER 13

                    DEBTOR

              CHAPTER 13 TRUSTEE’S MOTION TO MODIFY CHAPTER 13 PLAN

       Adam M. Goodman, Standing Chapter 13 Trustee (the “Trustee”), files this Motion to
Modify the Debtor’s Chapter 13 Plan, and in support of this request, respectfully states the
following:

1.      Debtor David W. Haskin (the “Debtor”) filed a petition for relief under Chapter 13 on
        July 1, 2015. A Chapter 13 Plan of Reorganization was confirmed with respect to the
        Debtor on December 14, 2016 (the “Plan”).

2.      The Plan as confirmed provides that Debtor will pay all of his pre- and post-petition
        secured debt directly to the secured creditor, rather than through Plan payments to the
        Trustee’s office. This includes the mortgage debt originally held by JP Morgan Chase
        Bank and now held by MTGLQ Investors LP, and judgments held by Discover Bank, and
        Equitable Ascent Financial, respectively. It appears the intent of the Plan was for the
        Trustee to pay the general unsecured debt, of which the confirmed plan anticipated a total
        of $74,459.55.

3.      The total amount of unsecured debt set forth in the filed Proofs of Claim total $928.42.

4.      JP Morgan Chase Bank filed a secured arrearage claim listing pre-petition arrearages in
        the amount of $15,083.63, but according to a stipulation filed on August 2, 2016, the
        arrearage through July 2016 totaled $24,887.63.

5.      Although a secured claim was anticipated, Discover Bank filed an unsecured claim in the
        amount of $5,690.79. No claim was filed by Equitable Ascent.

6.      The Chapter 13 Trustee has a total of $30,976.80 on hand from Plan payments by the
        Debtor. Since succeeding as Trustee on October 1, 2017, the undersigned has initiated
        numerous communications with Debtor’s counsel, as well as counsel for MTGLQ
        Investors LP, 1 in an effort to establish the amounts of the remaining pre- and post-
        petition obligations owed to all allowed claimants. The Trustee has suggested that
        Debtor could modify the Plan to allow the Trustee to use the funds on hand to satisfy all
        pre- and post-petition obligations, such that Debtor would be eligible, subject to the 11
        U.S.C. § 1328 qualifications, to obtain a discharge.

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 Trustee notes that counsel for MTGLQ Investors LP who was previously involved in assisting to resolve this
matter, Jennifer Cruseturner, is now a staff attorney for the Chapter 13 Trustee.
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7.     The last correspondence from counsel for MTGLQ Investors LP on November 6, 2017,
       advised that at that time the amount necessary to bring the mortgage contractually current
       was $17,829.62. At that same time, Debtor’s counsel provided some proof of payments
       to JP Morgan Chase Bank and Discover, but no definitive information on a payoff figure
       as to the latter creditor. No further information has been provided.

8.     The Chapter 13 Trustee respectfully requests that Debtor be ordered to (1) identify the
       remaining amounts owed to creditors with filed and allowed claims; and (2) to modify the
       Chapter 13 Plan, in accordance with 11 U.S.C. § 1329(a)(1) and (2), to allow the Trustee
       to make such payments until the short term obligations are paid in full and the long term
       obligations are brought contractually current.

        WHEREFORE, the Chapter 13 Trustee requests that this Honorable Court grant the
instant motion to modify Chapter 13 Plan, and for all such other relief as this Court deems just
and proper.


February 13, 2018                               By:    s/Adam M. Goodman
                                                        Adam M. Goodman
                                                        Chapter 13 Trustee
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